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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA 7?!" g-2
AT JACKSONVILLE ED Pia
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KRISTEN MASOUDIPOYA, ) ee
) 7 3
Plaintiff, )
) , 7
v. ) Case No. 3. - 131 -7D- 6) CM)
)
PIVOTAL PAYMENT, INC., d/b/a, )
CAPITAL PROCESSING NETWORK, )
)
Defendant. )

 

NOTICE OF REMOVAL

 

PLEASE TAKE NOTICE that Defendant Pivotal Payment, Inc., d/b/a Capital Processing
Network (“Pivotal”)', by and through its undersigned counsel, has removed the state court action
styled Kristen Masoudipoya v. Pivotal Payment, Inc., d/b/a Capital Processing Network, Docket
No. 2018-CA-5550, filed in the Circuit Court of the Fourth Judicial Circuit in and for Duval
County, Florida, to this Court, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446. As grounds,
Defendant Pivotal states as follows:

A. State Court Proceedings

1. Plaintiff Kristen Masoudipoya commenced this action in the Circuit Court for
Duval County, Florida, by filing a Complaint for Injunctive Relief, Damages and Demand for
Jury Trial (the “Complaint”), on August 14, 2018. A true copy of the Complaint is attached
hereto as Exhibit A.

2. No further proceedings have taken place in this action in the Circuit Court for

Duval County, Florida.

 

' The Complaint inadvertently identifies Defendant as Pivotal Payments, Inc., rather than Pivotal Payment, Inc.

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3. Plaintiff served Defendant Pivotal on August 30, 2018.

B. Removal Is Timely And This Court Has Jurisdiction Pursuant To 28 U.S.C. §§ 1331
and 1446

4. Defendant Pivotal was served with the Complaint, and Pivotal’s receipt of a copy
of the Complaint, was within the last thirty (30) days. Accordingly, the removal of this action is
timely, pursuant to 28 U.S.C. §§ 1441 and 1446.

5. This case has been properly removed to this Court, pursuant to 28 U.S.C. §§ 1331
and 1441, because this action is one arising under the laws of the United States.

Cc. Defendant Credit One Has Satisfied The Procedural Requirements For Removal

6. The United States District Court for the Middle District of Florida at Jacksonville
encompasses Duval County, Florida, in which this action was heretofore pending. Therefore,
this action has been properly removed to this Court.

7. Defendant Pivotal is the only defendant in this action.

8. Pursuant to 28 U.S.C. § 1446(d), Defendant Pivotal has filed its Notice of
Removal in this Court, and filed a copy of its Notice of Removal with the Clerk of the Circuit
Court of The Fourth Judicial Circuit in and for Duval County, Florida, in which this action was
heretofore pending, and served a copy of its Notice of Removal on parties to this action. Copies
of these papers are attached hereto as Exhibit B.

9, Pursuant to 28 U.S.C. § 1446(a), copies of the process, pleadings, and orders
heretofore served in this action are attached hereto as Exhibit C.

10. By filing this Notice of Removal, Defendant Pivotal does not waive, either
expressly or impliedly, its respective rights to assert any defenses that it could have asserted in
the Circuit Court for Duval County, Florida. Pivotal reserves the right to amend or supplement

this Notice of Removal.

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WHEREFORE, Defendant Pivotal has removed this action in its entirety from the Circuit

Court of Duval County, Florida, to the United States District Court for the Middle District of

Florida at Jacksonville, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446.

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evin E. Hyde (Florida Bar No. 0768235)
Dabney D. Ware (Florida Bar No. 95990)

FOLEY & LARDNER LLP

One Independent Drive

Suite 1300

Jacksonville, Florida 32201-5017

Telephone: (904) 359-2000

Facsimile: (904) 359-8700

Email: khyde@foley.com
dware@foley.com

Attorneys for Defendant Pivotal Payment, Inc.,
d/b/a Capital Processing Network
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CERTIFICATE OF SERVICE

I hereby certify that on September 19, 2018, a copy of the foregoing was served by email

and regular mail U.S. mail to:

4842-8034-0851.1

Ryan G. Moore, Esq.

First Coast Consumer Law

340 Third Avenue South, Suite A

Jacksonville Beach, Florida 32250-6767

Telephone: (904) 242-7070

Facsimile: (904) 242-7054

Email: pleadings@firstcoastconsumerlaw.com

Grx@) Wma

vin E. Hide (Florida Bar No. 0768235)
Dabney D. Ware (Florida Bar No. 95990)

FOLEY & LARDNER LLP

One Independent Drive

Suite 1300

Jacksonville, Florida 32201-5017

Telephone: (904) 359-2000

Facsimile: (904) 359-8700

Email: khyde@foley.com
dware@foley.com

Attorneys for Defendant Pivotal Payment, Inc.,
d/b/a Capital Processing Network
